bhth

\DOO\]O’\

10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28

Case 5:09-Cr-00263-R|\/|W Document 176 Filed 07/07/10 Page 1 of 1

Thomas J. Nolan (SBN 48413)

Emma Bradford (sBN 233256) F'“__ED

Nolan, Annstrong & Barton LLP

600 University Ave. JUL - 7 mm
PalO AltO, CA 94301
Tel. (650) 326-2980 Fax (650) 326_9704 R\cHARD W-W‘E“‘NG

RK. U.S. DlSTF\\CT COU
NORQ|'\i-lEEHN DlSTRlCT OF CAL\FORN\A
S

Counsel for Defendant Adriana Stumpo AN JOSE

UNITED STATES DISTRICT COURT
FOR THE NORTI-IERN DISTRICT OF CALIFORNIA

SAN JOSE DIVISION
UNITED STATES, Case No. CR 09-263 RMW
Plaintiff, [PROPOSED] ORDER TO MODIFY
CONDITIONS OF PRETRIAL RELEASE
v.
ADRIANA STUMPO,

Defendant

 

 

 

 

Based upon the representation of counsel and for good cause shown, the Court hereby
orders that the conditions of Ms. Stumpo’s pretrial release be modified as follows:
l. Ms. Stumpo shall maintain contact with her surety, Mr. R ney tumpo, once a Week

by telephone or in-person.

 

Dated: g

 

 

HOWA RD R. LLO
UNITE'B STATES AGIS TE IUDGE

 

gROPOSED] ORDER TO MODIFY CONDITIONS OF PRETRIAL RELEASE
nited States v. Buddenberg, CR 09-263RMW 1

 

